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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :

             v.                : Crim. No. 21-mj-280(RMM)

Jessica Bustle                 :

             Defendant         :


                         ENTRY OF APPEARANCE


      Please enter my appearance as appointed counsel for the above named

Defendant nunc pro tunc to March 8. 2021



                                     _______________/s/_____________
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